 

 

Case 1:17-cr-00034-.]RH-BKE Document 177 Filed 12/08/17 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTI-IERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
UNITED STATES OF AMERICA )
V~ § CR 117-034
REALITY LEIGH WINNER §

ORDER

Ye_sterday, Defendant moved for three forms of accommodation with respect to the
oral rulings and briefing schedule made during the classified discovery hearing on November
30 and December l, 2017. (Doc. no. 176.) The Court GRANTS IN PART AND DENIES
IN PART Defendant’s requests as follows.

The Court denies the request for a written order memorializing the oral rulings made
at the hearing. The Court announced during the hearing its rulings would be oral only and
gave both sides the opportunity to seek immediate clarification The transcript, along with
the parties’ contemporaneous notes, should be sufficient to discern the rulings made on each
discovery dispute. Should any doubt remain after review of these resources and conferring
With the opposition, either party may seek clarification from the Court. Time is of the
essence. Clarification should be sought as soon as the need is apparent, and the government
should begin collecting and producing information responsive to the rulings without delay.

The Court grants in part the request for extensions of time to appeal the Court’s

discovery rulings and reformulate the Rule 17 subpoena requests. The Rule 17 subpoena

requests are due within twenty-one days from completion of the discovery hearing transcript

 

 

 

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Any appeal of the discovery rulings must be filed within twenty»eight days from completion
of the discovery hearing transcript,

The classified hearing on December 19, 2017, will proceed as scheduled with respect
to the adequacy of Defendant’s CIPA § 5 Notices and the defense request regarding internet
searches. All deadlines set forth in the Fourth Amended Scheduling Order will not be
affected by pre~trial motions and CIPA notices arising out of supplemental productions Any
such motions and notices will be handled on a rolling basis as expeditiously as possible, with
all related defense motions and CIPA notices due within fourteen days of the supplemental
production.

SO ORDERED this Sth day of December, 2017, at Augusta, Georgia.

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BRIAN K. Epi’ s
UNm-:D srATEs mclsma'n: JUDGE
soumElw Dismcr or GEORGIA

 

